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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                                      (Electronically Filed)

 AUSTIN CLARK,                                  )
                                                )
               Plaintiff                        )
                                                )       Civil Action No. 3:21-CV-480-DJH
 v.                                             )
                                                )
 UNIVERSITY OF LOUISVILLE, et al.,              )
                                                )
                                                )
                                                )
                Defendants                      )

                                    MOTION TO DISMISS


       Defendants Neeli Bendapudi, Lori Gonzalez, Toni Ganzel, Olivia Mittel, and Monica

Shaw, in their individual and official capacities (Drs. Bendapudi, Gonzalez, Ganzel, Mittel, and

Shaw collectively referred to as “Served Defendants”), by counsel, and pursuant to Fed. R. Civ. P.

12(b)(6), hereby move this Court to dismiss the Plaintiff’s Amended Complaint in its entirety. The

grounds for this Motion are set forth in an attached supporting Memorandum, which is being

simultaneously filed. A proposed Order is attached as well.
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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

                                              (Electronically Filed)

    AUSTIN CLARK,                                          )
                                                           )
                   Plaintiff                               )
                                                           )        Civil Action No. 3:21-CV-480-DJH
    v.                                                     )
                                                           )
    UNIVERSITY OF LOUISVILLE, et al.,                      )
                                                           )
                                                           )
                                                           )
                   Defendants                              )

              DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO
                       DISMISS PLAINTIFF’S COMPLAINT

         Defendants Neeli Bendapudi, Lori Gonzalez, Toni Ganzel, Olivia Mittel, and Monica

Shaw, in their individual and official capacities (Drs. Bendapudi, Gonzalez, Ganzel, Mittel, and

Shaw collectively referred to as “Served Defendants”), by counsel, move to dismiss Plaintiff

Austin Clark’s Amended Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.1

                                               INTRODUCTION

         Plaintiff Austin Clark brought this lawsuit after he was dismissed from the University of

Louisville School of Medicine for failing his Internal Medicine clerkship and exhibiting extremely

unprofessional conduct in the clinical setting towards patients, faculty, and students. Rather than




1
  For ease of reference, the other individual defendants, all sued in both their individual and official capacities, are
Drs. Bill Crump, Sara Petruska, Thomas Neely, Mohan Rao, Julianna Brown, Jennifer Koch, Cristina Giles, Jon
Alexander, and Samuel Reynolds (referred to collectively with the Served Defendants as the “individual defendants”).
Upon information and belief, Plaintiff has not yet served the University of Louisville or the defendants listed in this
footnote.

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show any sign of contrition for his behavior or desire to improve, despite multiple opportunities to

do so, Clark refused to admit to any wrongdoing whatsoever. He instead brought this lawsuit,

alleging that the true reason he was dismissed was because of his “mainstream conservative,

Christian, pro-life beliefs,” in addition to his allegedly justified, decorous criticism of his professor.

         According to Clark’s speculative, conclusory allegations, certain members of the faculty

and staff of the School of Medicine2 were so offended by the beliefs he exhibited in his second

year of medical school that during his third year of medical school, when students move from

doing purely academic to clinical work, those individuals conspired to engineer his dismissal

despite his allegedly otherwise stellar performance. Clark also blames other University officials,

as well as the University itself, for allowing these events to transpire. Clark brings claims against

the University and fourteen separate individual defendants for violations of his First Amendment

rights to free speech and his Fourteenth Amendment rights to due process and equal protection.

         Clark’s Amended Complaint should be dismissed with prejudice as a matter of law,

because the Defendants are entitled to sovereign and qualified immunity for their actions. Further,

Clark fails to state a claim for which relief can be granted under either the First or Fourteenth

Amendments.

                                              RELEVANT FACTS

         Austin Clark was admitted to the University of Louisville School of Medicine in July 2017.

(DN 4, Am. Compl., ¶ 39.) He was dismissed from the University of Louisville on July 27, 2020

due to “deficiencies in [his] clinical clerkships and a pattern of unprofessional conduct that does

not conform with the promulgated standards of the School of Medicine, including but not limited



2
  Included in the group are a former faculty advisor to Medical Students for Life as well as the author of one of Clark’s
letters of recommendation that assisted in his admission to the School of Medicine in the first place.


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to our Technical Standards, despite repeated opportunities for remediation.” (Official Notice of

Dismissal from Dr. Toni Ganzel to Austin Clark (July 27, 2020), filed under seal as Exhibit 1

(“Official Notice”), at 1.)

        Prior to his dismissal in July 2020, Clark was provided with numerous opportunities to be

heard regarding his conduct and the faculty’s actions towards him, as well as any other issues he

wanted to raise; he was also repeatedly given the opportunity to admit his mistakes and move

forward in good faith, but refused to do so. Those opportunities are set forth below.

        In Fall 2019, based on feedback from his clinical rotations, Clark was given a contract

specifically outlining areas he must improve. (See Professionalism Contract signed by Austin

Clark and Dr. Olivia Mittel (September 17, 2019), filed under seal as Exhibit 2 (“Professionalism

Contract”).) The Professionalism Contract outlined the specific course objectives and technical

standards that Clark needed to be aware of and “actively working to meet.” (Id. at 1-2.) Many of

those requirements focused on necessary skills that are more difficult to quantify than academic

standards, such as those that colloquially constitute a doctor’s “bedside manner,” and are required

for accreditation as a United States medical school by the Liaison Committee of Medical

Education. Relevant course objectives included maintaining patient comfort and privacy,

demonstrating self-regulation, demonstrating respect for all persons, and treating all members of

the care team as professionals. (Id. at 1.) Technical standards include communicating “effectively,

efficiently, empathetically, and sensitively with patients, their families, health care personnel,

colleagues, faculty, staff, and all other individuals with whom they come in contact,” and accepting

“responsibility for learning, exercising good judgment, and promptly completing all

responsibilities attendant to their curriculum and to the diagnosis and care of patients.” (Id. at 2.)




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           Clark also participated in a hearing during a meeting of the Student Promotions Committee.

(See Student Promotions Committee Recommendation from Anthony R. Simms to Toni M. Ganzel

(May 29, 2020), filed under seal as Exhibit 3 (“Recommendation”), at 1.) The Committee is an

advisory committee made up of clinicians and professors from different departments at the School

of Medicine. (Id. at 1.) Clark came before the Committee when he failed his Internal Medicine

Clerkship due to his professionalism.3 (Id. at 2.) During the hearing, the Committee reviewed (1)

a written summary of Clark’s academic performance; (2) materials submitted by Dr. Olivia Mittel,

Assistant Dean of the School of Medicine; and (3) materials submitted by Clark himself. (Id.)

           The Recommendation prepared by the Committee reflects that not only was Clark given

the opportunity to submit materials to the Committee, he was also given the opportunity to speak

with them. (Id.) In fact, Clark was even “given the opportunity to introduce the situation and what

led to him being included in this meeting.” (Id.) Clark availed himself of the opportunity to be

heard by making his arguments to the Committee. (Id.) Despite Clark’s willingness to place blame

on the University, he accepted no responsibility for his actions, such as violating the

professionalism contract, instead making general statements, such as “humans are always

imperfect and that the answer to whether he could have done better would always be yes.” (Id.)

           After considering Clark’s remarks at the meeting, a motion was made and seconded that

Clark be dismissed from the School of Medicine on the grounds that Clark “is not safe to continue

with patient interaction, physician-to-physician interaction, team interaction.” (Id. at 2-3.) The

Committee voted 15-1 in favor of dismissal. (Id. at 3.) Anthony Simms, the Director of Medical

Student Affairs & Student Wellness, and a non-voting member of the Committee, prepared the

written recommendation for dismissal. (See generally id.) The Recommendation noted, “Austin



3
    Failing grades result in students going before the Committee, who recommends a course of action to the Dean.

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has already been granted several chances to correct behavior, including the professionalism

contract, but these have reoccurred with, what it appears, little insight from Austin to change or

adapt to being a physician.” (Id. at 3.)

       Dean of the School of Medicine, Dr. Toni Ganzel, adopted the Recommendation of the

Student Promotions Committee and later officially notified Clark and his counsel, Tim Denison

and Martha Eckert, of the decision via letter on July 27, 2020. (See Official Notice, Exh. 1.) Dr.

Ganzel further discussed the Recommendation with Clark and his counsel, Martha Eckert, during

a virtual meeting on July 15, 2020, before Dr. Ganzel made her final decision, giving Clark another

opportunity to change Dr. Ganzel’s mind. (Id.) Dr. Ganzel also requested and reviewed additional

information from Clark and the Office of Student Affairs. (Id.) In addition, Clark and Dr. Ganzel

“engaged in several virtual meeting discussions and email communications following [Dr.

Ganzel’s] request [for additional information].” (Id.) Clark was provided the opportunity to review

and respond to the additional information submitted by the Office of Student Affairs. (Id.) In the

Official Notice, Dr. Ganzel told Clark that in accordance with the grievance procedures set forth

in Chapter 6, Section 6.8 of The Redbook, Clark could request a review of the decision. (Id.)

Ultimately, Dr. Ganzel confirmed her decision to adopt the Committee’s Recommendation

dismissing Clark from the School of Medicine.

                                   PROCEDURAL HISTORY

       On July 23, 2021, Clark filed this lawsuit against the University of Louisville and fourteen

individual defendants, alleging four causes of action pursuant to 42 U.S.C. § 1983 in his verified

original Complaint: (1) Violation of Plaintiff’s First Amendment Right to Freedom of Speech

Retaliation; (2) Violation of Plaintiff’s First Amendment Right to Freedom of Speech Content &

Viewpoint Discrimination; (3) Violation of Plaintiff’s Fourteenth Amendment Right to Procedural



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Due Process of Law; and (4) Violation of Plaintiff’s Fourteenth Amendment Right to Equal

Protection of the Law. (DN 1.) On August 10, 2021, Clark filed his Amended Complaint, adding

additional allegations. (DN 4.) Clark also attempted to plead an additional cause of action, Violation

of Plaintiff’s Fourteenth Amendment Right to Substantive Due Process of Law, in his Amended

Complaint, though the statute of limitations on § 1983 claims had run, at the latest, on July 27, 2021.

(See DN 4.)4

         The Clerk of Court notified Clark’s counsel of deficiencies pertaining to the Amended

Complaint on August 18, 2021. (See Order, DN 5.) Because Clark failed to serve any of the

Defendants with either the original Complaint or the Amended Complaint within the ninety (90) day

period required by Federal Rule of Civil Procedure 4(m), the Court issued an order to show cause

on October 27, 2021. (DN 5.) On November 9, 2021, Clark responded by accusing Defendants of

evading service and filing a Motion for Enlargement of Time. (DN 6, 7.) In reality, Clark’s failure

to serve Defendants was due to his own lack of diligence, as evidenced by the incorrect addresses he

put on the summons. (See DN 3.) Clark subsequently served Defendants Bendapudi, Gonzalez,

Ganzel, Mittel, and Shaw on November 19, 2021.

                                            STANDARD OF REVIEW

         A complaint must contain “a short and plain statement of the claim showing that the pleader

is entitled to relief.” FRCP 8(a)(2). Each claim in an Amended Complaint must present “some

viable legal theory” for relief. Left Fork Mining Co. v. Hooker, 775 F.3d 768, 773 (6th Cir. 2014).

The United States Supreme Court has made clear that a failure to plead “enough facts to state a




4
 The Amended Complaint purports to be both verified and submitted not on August 10, 2021, but on July 23, 2021, the
date the original Complaint was filed. (See DN 4, at 34-35; DN 1.) It is unclear whether the Amended Complaint contains
an erroneous date or was not actually verified, but it is clear it was not submitted to the Court on July 23, 2021, but rather
on August 10, 2021. (See DN 4 filestamp.)

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claim to relief that is plausible on its face” warrants dismissal of the claim. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). Moreover, “the tenet that a court must accept as true all of

the allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Rule 8 of the Federal Rules of Civil Procedure “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation,” and it does not “unlock the doors

of discovery for a plaintiff armed with nothing more than conclusions.” Id. at 678-79. “A pleading

that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action

will not do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557). A

complaint whose “well-pleaded facts do not permit the court to infer more than the mere possibility

of misconduct” does not satisfy the pleading requirements of Rule 8 and will not withstand a

motion to dismiss. Id. at 679.

       Clark’s Amended Complaint does not present viable legal theories under the facts he

alleged. Further, it does not “contain sufficient factual matter, accepted as true, to ‘state a claim

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)).

            SCOPE OF REVIEW BEYOND THE FACE OF THE COMPLAINT

       In “deciding a motion to dismiss and/or a motion for judgment on the pleadings under Rule

12,” the Sixth Circuit has held that a Court is allowed to consider matters outside the pleadings

without converting the motion into a motion for summary judgment under Rule 56 under “a

number of exceptions to [the general] rule.” Carney v. Univ. of Akron, No. 5:15cv2309, 2016 U.S.

Dist. LEXIS 98712, at *17-19 (N.D. Ohio July 28, 2016) (citing Bassett v. Nat'l Collegiate Athletic

Ass’n, 528 F.3d 426, 430 (6th Cir. 2008) & Commercial Money Ctr., Inc. v. Illinois Union Ins.



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Co., 508 F.3d 327, 335 (6th Cir. 2007)). A district court may consider “the Complaint and any

exhibits attached thereto, public records, items appearing in the record of the case and exhibits

attached to defendant’s motion to dismiss so long as they are referred to in the Complaint and are

central to the claims contained therein.” Basset, 528 F.3d at 430. A Court may also “consider

documents that govern a party’s rights and are necessarily incorporated by reference in the

complaint on a motion to dismiss.” Carney, 2016 U.S. Dist. LEXIS 98712, at *18 (interpreting

Commercial Money Ctr., Inc., 508 F.3d at 335).

        “A plaintiff is under no obligation to attach to his complaint documents upon which his

action is based,” but a defendant may then “introduce certain pertinent documents if the plaintiff

fails to do so.” Weiner v. Klais & Co., Inc., 108 F.3d 86, 89 (6th Cir. 1997) (collecting cases)

(citations omitted). “Otherwise, a plaintiff with a legally deficient claim could survive a motion to

dismiss simply by failing to attach a dispositive document upon which it relied.” Id. (citation

omitted). Thus, “documents that a defendant attaches to a motion to dismiss are considered part of

the pleadings if they are referred to in the plaintiff’s complaint and are central to her claim.” Id.

(expressly adopting the holding of Venture Assoc. v. Zenith Data Sys., 987 F.2d 429, 431 (7th Cir.

1993)); see also Basset, 528 F.3d at 430.

       The Court should also consider the rule that “when a written instrument contradicts

allegations in the complaint to which it is attached, the exhibit trumps the allegations.” Cates v.

Crystal Clear Techs., LLC, 874 F.3d 530, 536 (6th Cir. 2017). “Nor is the Court required to accept

as true complaint allegations that are contradicted by public records and other evidentiary materials

of which the Court may take judicial notice.” Carney, 2016 U.S. Dist. LEXIS 98712, at *15-16

(citing Moody v. CitiMortgage, Inc., 32 F.Supp.3d 869, 874-75 (W.D. Mich. 2014) & Williams v.




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CitiMortgage, Inc., 498 F. App’x 532, 536 (6th Cir. 2012)) (internal citations and quotations

omitted).

       Here, the Amended Complaint discusses the steps that led to Clark’s dismissal from the

University in detail. (See, e.g., Am. Compl., ¶¶ 60-72 (detailing “Dismissal Proceedings”).) The

documents concerning the dismissal are integral to all of Clark’s claims and should therefore be

considered at the pleadings stage. See, e.g., Carney, 2016 U.S. Dist. LEXIS 98712, at *17-20

(considering similar materials attached to university defendants’ Rule 12(c) motion, including a

letter to plaintiff notifying her of a disciplinary hearing, a letter outlining the findings from the

Committee’s hearing, a letter appealing the Committee’s decision, a letter announcing the decision

on appeal, and a copy of the Disciplinary Code, without converting to a motion for summary

judgment, since the materials were central to plaintiff’s procedural due process claims concerning

her expulsion from the University of Akron’s law school).

                                           ARGUMENT

I.     The University of Louisville and Defendants Acting In Their Official Capacity Are
       Entitled to Eleventh Amendment Sovereign Immunity.

       The University and officials acting in their official capacity are entitled to Eleventh

Amendment immunity. Accordingly, all such claims should be dismissed. While it is clear from

Sixth Circuit precedent that all claims against the individuals in their official capacities should be

dismissed, it is incontrovertible that at a minimum, the Court must dismiss all claims for monetary

damages or declaratory relief.

       All of Clark’s § 1983 claims against the University are clearly barred by sovereign immunity.

“The University of Louisville is a state agency cloaked with Eleventh Amendment immunity.”

Kaplan v. Univ. of Louisville, 10 F.4th 569, 576 (6th Cir. 2021) (“Kaplan”) (affirming the district




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court’s grant of sovereign immunity to the University of Louisville as to former professor’s

procedural due process claims).

        There are two possible paths around a State’s sovereign immunity. “First, Congress may

authorize such a suit in the exercise of its power to enforce the Fourteenth Amendment.” Coll. Sav.

Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 670 (1999). “Second, a State

may waive its sovereign immunity by consenting to suit.” Id. “A State’s consent to suit must be

unequivocally expressed in the text of [a] relevant statute.” Sossamon v. Texas, 563 U.S. 277, 284

(2011) (internal quotation marks omitted). “First, Kentucky has not waived its sovereign immunity

for § 1983 claims,” and “Second, Congress did not abrogate Kentucky’s sovereign immunity for §

1983 claims.” Kaplan v. University of Louisville, No. 3:19-CV-825-CRS, 2020 U.S. Dist. LEXIS

131325 at *13, 2020 WL 4275042 (W.D. Ky. July 23, 2020), aff’d, by Kaplan v. University of

Louisville, 10 F.4th 569 (6th Cir. 2021).

        The only other exception is the Ex Parte Young doctrine, which “allows plaintiffs to bring a

suit challenging the constitutionality of a state official’s action.” Kaplan, 10 F.4th at 577 (citations

omitted). While Clark may argue the Ex Parte Young doctrine should apply here, the Sixth Circuit

has rejected a similar effort by a University professor to “shoehorn his claims into the Ex parte Young

doctrine,” an effort that failed with respect to the University and did not apply to individuals sued in

their personal capacities. Id. The Sixth Circuit did not need to address the official capacity claims in

that case, as it found no constitutional violations. See id. However, in the underlying District Court

case, the Western District of Kentucky explained that to fall within Ex Parte Young, the claim must

be “brought against state officials in their official capacity” and “seek prospective relief to end a

continuing violation of federal law.” Kaplan v. University of Louisville, 2020 U.S. Dist. LEXIS

131325 at *13. Where a professor was banned from campus and terminated from his employment



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with the University, this Court found the Eleventh Amendment barred his suit, stating, “Whatever

remedy [the plaintiff] is seeking for these alleged injuries would necessarily be righting an alleged

past wrong, the proper remedy for which would be damages, not injunctive relief.” Id. at *14.

        Because the claims against the University and the individual defendants in their official

capacities are barred by the doctrine of sovereign immunity, the Court should dismiss all the claims

against the University and all the claims brought against the individual defendants in their official

capacities.

II.     The Individual Defendants Are Entitled to Qualified Immunity.

        The individual defendants, including the Served Defendants, are entitled to qualified

immunity. Qualified immunity serves to “shield officials from harassment, distraction, and liability

when they perform their duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009); see

also Yoder v. Univ. of Louisville, 526 F. App’x 537, 544 (6th Cir. 2013). “Because qualified

immunity is an immunity from suit rather than a mere defense to liability, it is effectively lost if a

case is erroneously permitted to go to trial. Indeed, we have made clear that the ‘driving force’ behind

creation of the qualified immunity doctrine was a desire to ensure that ‘insubstantial claims’

against government officials will be resolved prior to discovery. Accordingly, we repeatedly have

stressed the importance of resolving immunity questions at the earliest possible stage in

litigation.” Pearson, 555 U.S. at 231-32 (cleaned up) (emphasis added). Thus, where possible, the

Court should determine the qualified immunity inquiry at the motion to dismiss stage, prior to the

individual defendants being require to respond to written discovery requests and having their

depositions taken, both of which can take up a significant amount of time and distract the officials

from their official duties.




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         The United States Supreme Court has elucidated a two prong test to determine whether an

official is entitled to qualified immunity. See Pearson, 555 U.S. at 232. In the context of evaluating

qualified immunity at the motion to dismiss stage, “First, a court must decide whether the facts that

a plaintiff has alleged…make out a violation of a constitutional right. Second, …the court must

decide whether the right at issue was ‘clearly established’ at the time of defendant’s alleged

misconduct.” Pearson, 555 U.S. at 232.; see also Stanley v. City of Norton, 124 F. App’x 305, 309

(6th Cir. 2005); Higgason v. Stephens, 288 F.3d 868, 876 (6th Cir. 2002).5

         The Supreme Court has determined that federal courts have the discretion to decide which

of the two prongs should be addressed first in light of the circumstances in the particular case at

hand. See Pearson, 555 U.S. at 236. The “rigid order of battle,” which required the first prong be

decided first, previously required by the Court in Saucier v. Katz, 533 U.S. 194 (2001) was heavily

criticized before it was overruled in Pearson eight years later. See Pearson, 555 U.S. at 234-235

(collecting cases and other legal sources). As recognized by the critics, including multiple federal

courts and even Supreme Court concurring and dissenting opinions during the time period where the

order of battle in Saucier remained precedential, it often makes sense to first consider whether a

constitutional right is sufficiently clearly established, before undertaking a full-blown constitutional

analysis. This is even more evident when considering the policies behind qualified immunity.

“Qualified immunity is an immunity from suit rather than a mere defense to liability. Saucier’s two-

step protocol disserves the purpose of qualified immunity when it forces the parties to endure




5
  There is an optional third prong of the test, which may be helpful to provide additional insight into the analysis. See
Stanley, 124 F. App’x at 309. “[T]hird, plaintiff must allege sufficient facts and support such allegations by sufficient
evidence to indicate that what the official allegedly did was objectively unreasonable in light of clearly established
rights.” Id. With regard to the third prong, at the motion to dismiss stage, Plaintiff is not yet required to support the
allegations by sufficient evidence, but must still allege sufficient facts to indicate what the official allegedly did was
objectively unreasonable in light of clearly established rights.


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additional burdens of suit—such as the costs of litigating constitutional questions and delays

attributable to resolving them—when the suit otherwise could be disposed of more readily.”

Pearson, 555 U.S. at 237 (citations omitted) (emphasis added).

        The Supreme Court has recognized that deciding the constitutional question first may

sometimes result in “[u]nnecessary litigation of constitutional issues” that “wastes the parties’

resources.” Pearson, 555 U.S. at 237. In addition, it is the nature of our judicial system that Courts

must devote invaluable time on busy dockets to act as discovery referees, hold conferences, and

resolve what often turn out to be multiple dispositive motions for any given case, including reviewing

hundreds of pages of briefing, hearing oral argument, and drafting complex opinions, all the while

risking being outpaced by a higher court’s decision rendering their forthcoming ruling moot, or

worse, immediately overruling it. It is unsurprising that the Supreme Court has recognized this

negative effect on the court system in addition to the negative effect on government defendants,

noting that in some cases, deciding the constitutional question first may result in “a substantial

expenditure of scarce judicial resources on difficult questions that have no effect on the outcome of

the case.” Id. at 236-37. This is particularly so for cases where “it is plain that a constitutional right

is not clearly established but far from obvious whether in fact there is such a right.” Id. Thus, the

doctrine of qualified immunity shields not only government defendants, but also the courts, from

spending valuable government time on thorny constitutional issues where a constitutional right is

not even clearly established.

        Finally, “principles of judicial restraint caution us to avoid reaching constitutional

questions when they are unnecessary to the disposition of a case.” Id. at 234 (citing Higazy v.

Templeton, 505 F.3d 161, 179, n. 19 (2d Cir. 2007)) (emphasis added); see Higazy, 505 F.3d at 179




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(deciding not to consider the constitutional question where no court had held that a material witness

had the right to counsel before charges were filed).

         While Defendants contend there were no constitutional violations in this case, should the

Court disagree, it is clear, without delving into the full analysis of whether a violation took place,

that any constitutional violations are not clearly established. Thus, the Court should note when

reviewing the analysis of Clark’s claims below, that it is not required to come to a conclusion

regarding the constitutional analysis; rather it may choose to only examine the analysis insofar as it

is necessary to determine whether any alleged right was clearly established.

        For a right to be clearly established, “the right the official is alleged to have violated must

have been clearly established” not in the sense of a “general proposition,” but rather “in a more

particularized, and hence more relevant, sense: The contours of the right must be sufficiently clear

that a reasonable official would understand that what he is doing violates that right.” Saucier, 533

U.S. at 202 (quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987).) If government officials “of

reasonable competence could disagree” on the lawfulness of the action, the defendants are entitled

to immunity. Malley v. Briggs, 475 U.S. 335, 341 (1986). Thus, “the relevant, dispositive inquiry in

determining whether a right is clearly established is whether it would be clear to a reasonable

official that his conduct was unlawful in the situation he confronted.” Yoder, 526 F. App’x at 544-

45 (citing Saucier, 533 U.S. at 202) (internal citations omitted) (emphasis added); see also Goodwin

v. City of Painesville, 781 F.3d 314, 325 (6th Cir. 2015).6

        None of the alleged constitutional rights were clearly established as applied to the particular

facts and circumstances at issue in this case; it would not have been apparent to a reasonable person



6
  Once a defendant raises the defense of qualified immunity, the plaintiff bears the burden of overcoming it and
establishing that the defendant is not entitled to qualified immunity. See Johnson v. Moseley, 790 F.3d 649, 653 (6th
Cir. 2015).

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at the time the alleged violations were made that any defendant was violating Clark’s constitutional

rights. Here, with respect to the individual situations at issue, there is no controlling authority

supporting Clark’s position that his rights were violated or give rise to a § 1983 claim. This Court

should therefore “find dispositive the absence of controlling authority that specifically prohibits

Defendants’ conduct.” Yoder, 526 F. App’x at 545 (citations omitted).

         Clark’s First Amendment rights in these particular circumstances are not clearly established.

As in Yoder, Clark must rely on cases governing student speech standards, none of which consider

the unique circumstances posed here. In Yoder, the Court was required to determine whether a

University could “take action against a nursing (or medical) student for making comments off

campus that implicate patient privacy concerns,” where “Defendants have legal and ethical

obligations to ensure that patient confidentiality is protected, and that nursing students are trained

with regard to their ethical obligations.” Because there was no authority directly on point, the Court

determined that that the defendants had acted reasonably in balancing the student’s rights against

those of the University and its patients, as the Court should do in this case. “Under such

circumstances, Defendants could not fairly be said to know that the law forbids discharging a student

under these circumstances.” Yoder, 526 F. App’x at 545-46. Nor could Defendants here be fairly

said to know that the law forbids discharging a student for failing a clerkship and concerns with

conduct and professionalism in a clinical setting, particularly considering how the concerns of the

student, who is already treating patients as part of his education, must be balanced against those of

the patients in obtaining quality care.7




7
  The University must also take into account the academic freedom of faculty members. The Sixth Circuit has
recognized that, in the assignment of grades, a professor “should remain free to decide, according to her own
professional judgment, what grades to assign and what grades not to assign.” See Parate v. Isibor, 868 F.2d 821, 828
(6th Cir. 1989). It is similarly unclear that the University should take it upon itself to countermand the professional
judgment of the Committee, made-up of clinicians and professors, as well as two medical students.

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        Nor are Clark’s 14th Amendment rights clearly established in this context. With respect to

the procedural due process claim, “whether a student’s interest in continued enrollment at a post-

secondary institution is protected by procedural due process has not been resolved.” McGee v.

Schoolcraft Cmty. Coll., 167 F. App’x 429, 437 (6th Cir. 2006). Likewise, the “contours” of the right

to any particular procedures in a university disciplinary proceeding are not clearly established. Lee

v. Univ. of Mich.-Dearborn, 2007 U.S. Dist. LEXIS 72236, *24-25 (W.D. Mich. Sep. 27, 2007).

Courts have therefore held that school administrators are protected by qualified immunity because,

whatever the contours of those rights, the case law does not support an “expectation of a certain type

of due process itself.” Id. As a matter of law, the individual defendants did not violate Clark’s clearly

established constitutional rights. However, even if Clark had stated a plausible claim that his

procedural due process rights were violated, Defendants are entitled to qualified immunity from suit

in their personal capacities.

        Because the individual defendants are entitled to qualified immunity in their individual

capacities, the Court should dismiss all the claims against the individual defendants. When

considered in combination with the dismissal of claims against the University and claims brought

against individual defendants in their official capacities, it is clear the Court should dismiss all claims

against all parties based on sovereign and qualified immunity grounds.

III.    Clark Fails to Allege Any Relevant Conduct By Dr. Bendapudi and Dr. Gonzalez.

        Clark has attempted extend his claims to officials outside the School of Medicine with no

involvement in the relevant events, including University President Dr. Neeli Bendapudi and

University Provost Dr. Lori Gonzalez. The Amended Complaint fails to state a valid claim against

Dr. Bendapudi and Dr. Gonzalez, because Clark fails to allege any particular facts that could result




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in either individual’s liability, warranting the dismissal of Dr. Bendapudi and Dr. Gonzalez in both

their individual and official capacities.

        Aside from alleging that Dr. Bendapudi is the University President with that office’s

attendant responsibilities (Am. Compl., ¶¶ 16-19) and Dr. Gonzalez is the University Provost with

that office’s attendant responsibilities (Am. Compl., ¶¶ 20-21), the Amended Complaint only makes

conclusory statements regarding the two Defendants, grouping them together such that they are both

alleged to have done the exact same thing. The Amended Complaint alleges that Dr. Bendapudi and

Dr. Gonzalez were aware of the “retaliatory and unconstitutional actions taken against Clark” and

did nothing to “change or reverse” those actions. (Am. Compl., ¶ 22.) Further, Dr. Bendapudi and

Dr. Gonzalez “have the authority to review, approve, or reject the decisions of other University

officials, including the other Defendants.” (Am. Compl., ¶ 23.) Dr. Bendapudi and Dr. Gonzalez,

“either by action or neglect,” have “ratified the retaliatory and unconstitutional decisions regarding

Clark that are challenged herein.” (Am. Compl., ¶ 24.)

        The Court cannot infer any liability based on these overbroad, essentially meaningless

statements. The Amended Complaint does not specify what information it alleges either Dr.

Bendapudi or Dr. Gonzalez knew, does not state what the “retaliatory and unconstitutional acts taken

against Clark” are in this context, does not state whether Dr. Bendapudi or Dr. Gonzalez did “review,

approve, or reject” the decisions, and even goes so far as to make its last allegation regarding the two

Defendants in the alternative, as literally an “either…or” proposition. (Am. Compl., ¶ 24.) The Court

should dismiss the claims against Dr. Bendapudi and Dr. Gonzalez for failure to state a claim.

        This is a classic example of a failure to plead “enough facts to state a claim to relief that is

plausible on its face.” Twombly, 550 U.S. at 570. Any “legal conclusions” provided by Clark do not

have to be accepted as true. Iqbal, 556 U.S. at 678. The allegations against Dr. Bendapudi and Dr.



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 Gonzalez are the “unadorned, the-defendant-unlawfully-harmed-me accusation” Rule 8 prohibits,

 insufficient to “unlock the doors of discovery for a plaintiff armed with nothing more than

 conclusions.” Id. at 678-79.

        In addition, the doctrine of respondeat superior does not apply in § 1983 actions to impute

 liability to supervisors. Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978);

 Taylor v. Mich. Dep’t of Corr., 69 F.3d 76, 80-81 (6th Cir. 1995). Therefore none of the individual

 defendants, including Dr. Bendapudi and Dr. Gonzalez, are responsible for the actions of the other

 Defendants. Furthermore, “[s]upervisory liability under § 1983 cannot attach where the allegation

 of liability is based upon a mere failure to act.” Bass v. Robinson, 167 F.3d 1041, 1048 (6th Cir.

 1999). “Rather, the supervisors must have actively engaged in unconstitutional behavior. Therefore,

 liability must lie upon more than a mere right to control employees and cannot rely on simple

 negligence.” Gregory v. City of Louisville, 444 F.3d 725, 751-52 (6th Cir. 2006) (internal citations

 omitted). Thus Clark’s claims that Dr. Bendapudi and Dr. Gonzalez are responsible due to their

 “neglect” or failure to act fail as a matter of law. (See Am. Compl., ¶¶ 22-24.)

 IV.    Clark Fails to State a Claim That His First Amendment Rights Were Violated.

        Clark’s allegations do not establish a violation of his First Amendment rights. Broadly

 speaking, First Amendment retaliation claims involve a three-prong analysis: (1) whether the

 individual engaged in speech protected by the First Amendment; (2) whether there was an adverse

 action by the defendant that would chill an ordinary person from exercising their First Amendment

 rights; and (3) whether the speech was a substantial or motivating factor in the adverse action. Taylor

 v. Keith, 338 F.3d 639, 643 (6th Cir. 2003). Clark fails to allege a sufficient causal connection

 between his protected speech and beliefs and the decision made regarding his dismissal to show the

 speech was a substantial or motivating factor in his dismissal. His inappropriate conclusory



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 allegations are based on nothing other than the fact that he had beliefs he made public and other

 individuals on campus publicly disagreed with those beliefs. (See, e.g., Am. Compl., ¶ 95 (alleging

 that Defendants, presumably all fifteen of them, “evaluated the content and viewpoint” of Clark’s

 speech to “determine whether they would and could take any adverse academic actions against him

 or otherwise punish him based on what he said.”).) Clark’s allegations fail to set forth factual

 allegations that would support his speculation under Twombley and Iqbal. For example, Clark does

 not even make allegations about the individual defendants’ personal beliefs; we are presumably

 meant to assume they disagree with Clark. However, his dismissal was recommended by the Student

 Promotions Committee after a hearing, and none of the Committee members are named in the

 Amended Complaint. The amount of information he provided to the Committee and Dr. Ganzel

 illustrate that the Committee had an ample record on which to base its recommendation. Clark fails

 to allege facts sufficient to show that the Committee and/or Dr. Ganzel based the Recommendation

 and decision to dismiss him from the School of Medicine on his statements made during his second

 year of practice, or any other protected speech. Accordingly, Clark’s First Amendment claims fail

 as a matter of law.

 V.     Clark Fails to State a Claim That He Was Deprived of His Due Process Rights.

        To state a valid procedural due process claim, Clark is required to (1) identify a legitimate

 property or liberty interest and then show (2) deprivation of that interest (3) without adequate pre-

 deprivation procedural rights. Cahoo v. SAS Analytics Inc., 912 F.3d 887, 900 (6th Cir. 2019) (“three

 elements” of procedural due process); Erwin Chemerinsky, Symposium, Procedural Due Process

 Claims, 16 Touro L. Rev. 871, 871 (2000) (“three sub-issues” of procedural due process); see also

 Board of Regents of State Colleges v. Roth, 408 U.S. 564, 572–73 (1972); Flaim v. Med. College of

 Ohio, 418 F.3d 629, 634 (6th Cir. 2005). None of Clark’s claims meet these requirements.



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          Clark has no protected property or liberty interest. In describing his cause of action for

 procedural due process, Clark asserts that the United States Constitution requires “far less stringent

 procedural due process requirements for an academic dismissal when compared to a non-academic

 dismissal.” (Am. Compl., ¶ 101.) However, Clark fails to identify either a property or liberty interest

 that would entitle him to such procedural due process. The Sixth Circuit has stated that “whether a

 student’s interest in continued enrollment at a post-secondary institution is protected by procedural

 due process has not been resolved.” McGee, 167 F. App’x at 437. Because of the lack of authority

 recognizing a student’s interest in continued enrollment at a post-secondary institution as a protected

 property interest, courts have declined to recognize such an interest. See Dibbern v. Univ. of Mich.,

 2016 U.S. Dist. LEXIS 65129, *75-77 (E.D. Mich. May 18, 2016). This Court should do the same,

 and dismiss Clark’s procedural due process claim against all Defendants.8

          Even assuming arguendo that Clark had a protected property or liberty interest, the

 Complaint fails to state a plausible procedural due process claim, as its allegations detail a University

 procedure that far exceeded any required procedures. “[T]here are two basic due process

 requirements: (1) notice, and (2) an opportunity to be heard.” Flaim, 418 F.3d at 634; see also Crosby

 v. Univ. of Ky., 863 F.3d 545, 555 (6th Cir. 2017) (“[N]otice and an opportunity to be heard are

 essential.”). “Due process is a flexible concept that varies according to the situation. The adequacy

 of the procedures employed in a given case depends on . . . the nature of the private interest, the

 efficacy of additional procedures, and the government’s interests.” Sharp v. Lindsey, 285 F.3d 479,

 488 (6th Cir. 2002) (cleaned up).




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  It is clear from McGee and Dibern that there is no clearly established property interest here, and thus the Court need
 not complete its constitutional analysis.

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        Here, Clark admits he was given “notice and [an] opportunity to be heard,” but claims the

 notice and opportunity are inadequate, because the faculty and leadership of the School of Medicine

 allegedly “did not conduct academic disciplinary procedures in a careful and deliberate manner.”

 (Am. Compl., ¶ 102.) Clark then makes conclusory statements that Defendants failed to adhere to

 University policy and the faculty Code of Conduct, failed to adequately consider alternative methods

 of discipline, misrepresented or “at worst falsif[ied] the official transcription,” not affording Clark

 access to documents, violating Clark’s FERPA rights, and obstructing Clark’s attempt at a formal

 University grievance to overturn his academic dismissal. (Am. Compl., ¶ 102.) These statements are

 not facts; they are conclusions. Which faculty members did not adhere to University policy, and in

 what way? Which faculty members did not adequately consider alternative methods of discipline?

 Who is Clark accusing of falsifying the official transcription? How were Clark’s FERPA rights

 violated, and how does that affect his due process claims? It is no answer for Clark to refer the Court

 to “reasonable inference.” (See Am. Compl., ¶ 103.)

        While Clark does not agree with the result of the extensive proceedings, he was given all that

 is required—notice and an opportunity to be heard before an impartial factfinder. In this case, Clark

 participated in a hearing before the Student Promotions Committee. Sixteen members of the

 Committee, none of whom are named in the Amended Complaint, and one of whom disapproved of

 dismissing him from the University, were responsible for the decision. Dr. Ganzel provided Clark

 with additional opportunities to be heard. Even after Dr. Ganzel finally approved the Committee’s

 recommendation to dismiss him, Clark was given the opportunity to appeal that decision, which is

 more than is required.

        With regard to his substantive due process claim, Clark is precluded from making that claim,

 as the statute of limitations expired prior to his allegation of that cause of action in his Amended



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 Complaint. § 1983 claims are subject to a one-year statute of limitations. Bonner v. Perry, 564 F.3d

 424, 430-31 (6th Cir. 2009). Clark was dismissed from the School of Medicine on May 29, 2020,

 and did not file his Complaint until July 23, 2021. (See DN 1 filestamp; Am. Compl., ¶ 71.)

 VI.    Clark Fails to State an Equal Protection Claim.

        Clark alleges that he was punished for expressing his views, whereas “there are students who,

 when expressing contrary views or faiths (or lack thereof)” are not subject to the same punishment

 as Clark, denying him equal protection of the law. (Am. Compl., ¶¶ 111-125.) Clark sets forth a

 litany of events that Defendants allegedly inflicted on him for his views, claiming that no other

 students were subject to similar treatment. (Id.)

        Clark fails to plead a viable equal protection claim through these allegations. “The threshold

 element of an equal protection claim is disparate treatment; once disparate treatment is shown, the

 equal protection analysis is determined by the classification used by government decision-makers.”

 Scarbrough v. Morgan County Board of Education, 470 F.3d 250, 260 (6th Cir. 2006). A

 determination that Clark’s speech was not protected under the First Amendment would therefore

 lead to the same result with regard to Clark’s claim his right to equal protection under the law was

 violated. See Dixon v. University of Toledo, 702 F.3d 269, 279 (6th Cir. 2012) (recognizing that a

 failure to establish speech protected by the First Amendment causes a failure of the related equal

 protection claim). Nor has Clark identified any other individual he alleges is similarly situated to

 him, which is required for his equal protection claim. Dixon v. University of Toledo, 702 F.3d at 278-

 80.

                                           CONCLUSION

        Because all Defendants are entitled to sovereign and qualified immunity, and because Clark

 has failed to state a claim upon which relief can be granted, the Served Defendants respectfully



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 request that the Court enter their tendered Order dismissing this matter with prejudice as a matter

 of law.



                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and accurate copy of the foregoing was served via the Court’s
 electronic case management system (CM/ECF) on this 9th day of December, 2021, upon the
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